                Case 2:20-cv-00680-DGE Document 97 Filed 03/01/22 Page 1 of 2




 1                                                     THE HONORABLE DAVID G. ESTUDILLO
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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9   TOMMY BROWN, on his own behalf and               No. 2:20-cv-00680-DGE
     on behalf of other similarly situated
10   persons,                                         DECLARATION OF KRISTINE E.
                                                      KRUGER IN SUPPORT OF U.S. BANK
11                         Plaintiff,                 NATIONAL ASSOCIATION’S MOTION
                                                      TO DISMISS PLAINTIFF’S COMPLAINT
12         v.
                                                      NOTED ON MOTION CALENDAR:
13   TRANSWORLD SYSTEMS, INC., et al.,
                                                      Friday, April 1, 2022
14                         Defendants.
                                                      ORAL ARGUMENT REQUESTED
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17         I, Kristine E. Kruger, declare the following:
18          1.      I am an attorney with the law firm of Perkins Coie LLP, counsel for Defendant
19   U.S. Bank National Association. I submit this declaration in support of U.S. Bank’s Motion to
20   Dismiss Plaintiff’s Complaint. This declaration is made based on my personal knowledge.
21          2.      Attached hereto as Exhibit A is a true and correct copy of the Special Servicing
22   Agreement (“SSA”), dated as of March 1, 2009, entered into by and among First Marblehead
23   Education Resources, Inc., as Special Servicer, U.S. Bank National Association, as Back-Up
24   Special Servicer, and each of the National Collegiate Student Loan Trusts.
25          3.      Attached hereto as Exhibit B is a true and correct copy of Exhibit II to the Special
26   Servicing Agreement, which is the Default Prevention and Collection Services Agreement

                                                                               Perkins Coie LLP
     DECLARATION OF KRISTINE E. KRUGER IN SUPPORT OF                     1201 Third Avenue, Suite 4900
     U.S. BANK’S MOTION TO DISMISS PLAINTIFF’S                             Seattle, WA 98101-3099
     COMPLAINT (No. 2:20-cv-00669-RSL) –1                                    Phone: 206.359.8000
                                                                              Fax: 206.359.9000
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 1   (“TSI Agreement”) dated as of March 1, 2009 and entered into by and between First
 2   Marblehead Education Resources, Inc., as Special Servicer, and NCO Financial Systems, Inc.
 3   (n/k/a TSI), as Special Subservicer, with one redaction for confidentiality.
 4

 5          I declare under penalty of perjury that the foregoing is true and correct.
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 7   EXECUTED on this 1st day of March 2022.
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                                                 /s/Kristine E. Kruger
 9                                               Kristine E. Kruger

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     DECLARATION OF KRISTINE E. KRUGER IN SUPPORT OF                           Perkins Coie LLP
     U.S. BANK’S MOTION TO DISMISS PLAINTIFF’S                           1201 Third Avenue, Suite 4900
     COMPLAINT (No. 2:20-cv-00680-DGE) –2                                  Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
                                                                              Fax: 206.359.9000
